          Case 1:24-cv-01438-RFT Document 7 Filed 02/29/24 Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 YVETTE RUIZ,

                               Plaintiff,                 24 Civ. 1438 (JHR)

                       -v.-                               ORDER

 COMMISSIONER OF SOCIAL SECURITY,
                               Defendant.

JENNIFER H. REARDEN, District Judge:

     In an effort to achieve a faster disposition of this matter, to conserve resources, and to

promote judicial efficiency, it is hereby ORDERED that the parties discuss whether they are

willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the

designated Magistrate Judge.

       If the parties consent to proceed before the Magistrate Judge, counsel for Defendants

must, within two weeks of the date of this Order, file on ECF a fully executed Notice,

Consent, and Reference of a Civil Action to a Magistrate Judge form, a copy of which is attached

to this Order (and also available at https://nysd.uscourts.gov/sites/default/files/2018-06/AO-

3.pdf). The executed form should be filed using the “Proposed Consent to Jurisdiction by US

Magistrate Judge” filing event in accordance with ECF Rule 13.27. If the Court approves that

form, then all further proceedings will be conducted before the designated Magistrate Judge.

Any appeal would be taken directly to the United States Court of Appeals for the Second Circuit,

as it would be if the consent form were not signed and so-ordered.

       If either party does not consent to conducting all further proceedings before the

designated Magistrate Judge, then the parties must file a joint letter, within two weeks of the

date of this Order, informing the Court that the parties do not consent, but without disclosing
          Case 1:24-cv-01438-RFT Document 7 Filed 02/29/24 Page 2 of 3



the identity of the party or parties who do not consent. The parties are free to withhold

consent without negative consequences.

       SO ORDERED.

Dated: February 29, 2024
       New York, New York


                                                                JENNIFER H. REARDEN
                                                                United States District Judge




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Case 1:24-cv-01438-RFT Document 7 Filed 02/29/24 Page 3 of 3
